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            EXHIBIT F
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                                                                                    Page 1
                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
         _________________________________
         IN RE MATTER OF:                                    )
         RICHARD KADREY, et al.,                             )
         Plaintiff,                                          )
                 vs.                                         ) C.A. NO.:
         META PLATFORMS, INC.,                               ) 3:23-cv-03417-VC
         Defendant.                                          )
         _________________________________)
            ** HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY **
                            UNDER THE PROTECTIVE ORDER
              VIDEOTAPED DEPOSITION OF TODOR MIHAYLOV, Ph.D.
                                Palo Alto, California
                            Thursday, September 19, 2024


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                                                                                  Page 75
   1     as one of his projects.

   2           Q.      Okay.

   3                   Is he still at Meta?

   4           A.      I don't know.

   5           Q.      Okay.

   6                   I was wondering if you could walk me

   7     through this chat.

   8           A.      Yes.

   9                   So it seems here that Hugo is introducing

 10      me to Damien --

 11            Q.      Um-hum.

 12            A.      -- who tries to generate MMLU, like,

 13      questions from some knowledge text in different

 14      categories.

 15            Q.      And so when you say "tries to demonstrate

 16      some MMLU, like, knowledge questions," is the sample

 17      below an example of that?

 18                    "What was Dr. Ann Wigmore's discovery

 19      regarding her physical and mental state after

 20      following a live food diet?"

 21            A.      Yes.

 22            Q.      So that's a question; right?



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                                                                                  Page 76
   1           A.      Yes.

   2           Q.      And how is that question -- how has he

   3     created that question?                What is -- what is the role

   4     of that sample in this chat?

   5           A.      So the role of this sample is, according to

   6     my understanding, to show, like, how he generated

   7     this.      You can see that there is a prompt view --

   8           Q.      Um-hum.

   9           A.      -- which shows the prompt that he --

 10            Q.      Um-hum.

 11            A.      -- he used to ask, it seems LLaMA 2

 12      model --

 13            Q.      Um-hum.

 14            A.      -- as it is mentioned, to generate that a

 15      question and answer pairs.

 16                    (Stenographer clarification.)

 17                    THE WITNESS:          Pairs.

 18            Q.      (By Ms. Poueymirou)              So you're saying that

 19      he's putting this prompt into LLaMA 2?

 20            A.      Yes, he probably did that.

 21            Q.      Okay.

 22                    And it's a prompt that says, "You are a



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                                                                                  Page 77
   1     helpful assistant that generates two multiple choice

   2     questions."         Is that the prompt you're referring to?

   3           A.      Yes, this is the prompt.

   4           Q.      Okay.

   5                   And then where you have the text that says

   6     "generally I choose a light snack such as blending

   7     apples," I assume that's "with avocado."                          What --

   8     what is this text?             Do you know?

   9           A.      No idea.

 10            Q.      Presumably a book?              Who knows; right?

 11                    And so what is the relationship between

 12      that prompt and text with the questions above with

 13      these "she felt more exhausted and stressed to her

 14      previous work schedule.                She experienced no

 15      difference" --

 16            A.      So I can't read the whole thing.                      It's too

 17      much.

 18            Q.      Oh, no.       So I -- above it.             Above it.

 19            A.      Yes.     So my understanding is --

 20            Q.      Yeah?

 21            A.      -- that in this prompt he asked the

 22      model --



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                                                                                  Page 78
   1           Q.      Um-hum.

   2           A.      -- to generate the questions and answers

   3     and then probably the model generated it.

   4           Q.      So he puts a prompt in, plus some text from

   5     a source we don't know, and then asks the model to

   6     generate multiple-choice questions?

   7           A.      Yes, that's what it seems.

   8           Q.      And what is the purpose of that?

   9           A.      So the purpose is to use these questions

 10      and answers as an evaluation for a model.

 11            Q.      It helps to determine how good the model

 12      is?

 13            A.      Yes, in this topic.

 14            Q.      Okay.

 15                    And does that enable -- is the goal of that

 16      to enable you to improve model performance?

 17            A.      So the goal is to evaluate the model for

 18      this particular subject.

 19            Q.      And is the goal of evaluating models

 20      ultimately to improve model performance?

 21            A.      Yes.

 22            Q.      Do you know what MMLIBU or M-M-L-I-B-U,



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                                                                                  Page 79
   1     would refer to?

   2           A.      I mean, yes, so it seems that it is a data

   3     set generated with this particular --

   4                   (Stenographer clarification.)

   5                   THE WITNESS:          -- method.

   6           Q.      (By Ms. Poueymirou)              Do you have any idea

   7     what "LIBU" refers to?

   8           A.      I don't.        I think it might be LibGen.

   9           Q.      LibGen.

 10                    And what is LibGen?

 11            A.      LibGen is a library --

 12            Q.      Um-hum.

 13            A.      -- with data.

 14            Q.      Do you know what LibGen comprises?

 15            A.      Library Genesis, I think.

 16                    (Stenographer clarification.)

 17                    THE WITNESS:          Library Genesis.             This is

 18      like how the name is formed.

 19            Q.      (By Ms. Poueymirou)              The name, the full

 20      name of LibGen is Library Genesis, yeah.

 21                    Do you know what is meant by a shadow

 22      library?



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                                                                                  Page 80
   1           A.      Which?

   2           Q.      Shadow library?

   3           A.      No.

   4           Q.      Do you know the kinds of texts that exist

   5     in Library Genesis?

   6           A.      Yes.

   7           Q.      And what does Library Genesis comprise?

   8           A.      It comprises from books, scientific

   9     articles, and magazines.

 10            Q.      Did Meta use LibGen as a -- as data for any

 11      of its LLaMA models?

 12            A.      It -- we used the version of it that was

 13      downloaded and processed.

 14            Q.      And do you know who downloaded that?

 15            A.      I think it was Nikolay Bashlykov.

 16            Q.      When you say "we used a version," what do

 17      you mean by that?

 18            A.      I mean it was processed in some way.

 19            Q.      Do you mean it was filtered?

 20            A.      I don't know how it was processed.

 21            Q.      Okay.

 22                    Do you know if Meta still uses LibGen?



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                                                                                Page 131
   1                   What do you take that to mean?

   2                   MR. WEINSTEIN:           Object to form.

   3                   THE WITNESS:          So I can only interpret,

   4     like, what is written here; that it is removing

   5     codes that are containing copyright in the first or

   6     the last 20 percent -- 25 percent of the book.

   7           Q.      (By Ms. Poueymirou)              Did -- did you ever

   8     process data and remove copyright from data when you

   9     were preparing data?

 10            A.      I personally, no.

 11            Q.      Do you know folks that did and, if so, who?

 12            A.      Yeah, so it seems that Nikolay did that if

 13      he is now the author of the document.

 14            Q.      Do you have any idea why Meta would want

 15      copyright removed from books?

 16            A.      I don't know.

 17            Q.      Do you know how copyright would have been

 18      removed from books?

 19                    MR. WEINSTEIN:           Object to form.

 20                    THE WITNESS:          I mean, I can guess what is

 21      written here.

 22            Q.      (By Ms. Poueymirou)              Yeah.



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